
USCA1 Opinion

	





                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                                     
                                 ____________________        No. 94-1473                      JOHN M. HEGARTY AS PERSONAL REPRESENTATIVE                        OF THE ESTATE OF KATHERINE A. HEGARTY,                                 Plaintiff, Appellee,                                          v.                      SOMERSET COUNTY, RENE GUAY, WILFRED HINES,                      THOMAS GIROUX, JR., WILLIAM CRAWFORD, JR.,                               Defendants, Appellants.                                                     
                                 ____________________        No. 94-1474                      JOHN M. HEGARTY AS PERSONAL REPRESENTATIVE                        OF THE ESTATE OF KATHERINE A. HEGARTY,                                 Plaintiff, Appellee,                                          v.                               SOMERSET COUNTY, ET AL.,                               Defendants, Appellants.                                                     
                                 ____________________        No. 94-1517                        JOHN M. HEGARTY, INDIVIDUALLY AND AS                       PERSONAL REPRESENTATIVE OF THE ESTATE OF                                 KATHERINE A. HEGARTY,                                Plaintiff, Appellant,                                          v.                               SOMERSET COUNTY, ET AL.,                                Defendants, Appellees.                                                     
                                 ____________________



                    APPEALS FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________                                                     
                                 ____________________                                        Before                                 Cyr, Circuit Judge,
                                      _____________                            Bownes, Senior Circuit Judge,
                                    ____________________                           and McAuliffe,* District Judge.
                                           ______________                                                     
                                 ____________________             William R. Fisher,  with whom Monaghan,  Leahy, Hochadel &amp;  Libby
             _________________             ___________________________________        was  on  brief for  appellants Guay,  Hines,  Giroux and  Crawford and        defendant-appellee Spencer Havey.             Frederick J. Badger, Jr., with whom Ann M. Murray and Richardson,
             ________________________            _____________     ___________        Troubh &amp; Badger were on brief for appellant Wright.
        _______________             Julian  L.  Sweet,  with whom  Jeffrey  A.  Thaler  and Berman  &amp;
             _________________              ___________________      _________        Simmons, P.A. were on brief for plaintiff/appellant Hegarty.
        _____________                                                     
                                 ____________________                                     May 17, 1995                                                     
                                 ____________________                            
        ____________________             *Of the District of New Hampshire, sitting by designation.                                          2



                    CYR,  Circuit Judge.  On May 15, 1992, state and county
                    CYR,  Circuit Judge.  
                          _____________          law enforcement officers  forcibly entered a remote  cabin in the          Maine woods, without a  warrant, and mortally wounded plaintiff's          decedent, Katherine  A. Hegarty,  while attempting to  arrest her          for recklessly endangering the safety of four campers.  Plaintiff          John M.  Hegarty initiated the present action in federal district          court for compensatory and punitive damages against the defendant          officers  and  their  respective supervisors,  based  on  alleged          violations of the Hegartys'  statutory and constitutional rights.          See 42 U.S.C.   1983 (1992);  Me. Rev. Stat. Ann. tit. 5,    4682
          ___          (1992).   After  rejecting their  qualified immunity  claims, the          district  court  determined  that  the  defendant  officers  were          potentially liable for punitive  damages, and the officers initi-          ated  an interlocutory appeal.  Plaintiff John M. Hegarty in turn          cross-appealed  from  district   court  orders  granting  summary          judgment in favor  of Somerset  County Sheriff  Spencer Havey  on          qualified  immunity grounds  and disallowing  plaintiff's section          1983 claim for  compensatory damages for loss  of spousal consor-          tium.                                          I
                                          I                                     BACKGROUND1
                                     BACKGROUND
                                     __________          A.   The Warrantless Entry
          A.   The Warrantless Entry
               _____________________                                                                           
          _________________________________________________________________               1The relevant facts are related in  the light most favorable
               1          to  the plaintiff, the party resisting  summary judgment.  Velez-
                                                                     ______          Gomez v.  SMA Life Assurance  Co., 8 F.3d  873, 874-75 (1st  Cir.
          _____     _______________________          1993).                                            3
                                          3



                    During the  morning of  the fateful day,  two vehicles,          containing four  campers, entered  through a gate  onto woodlands          owned  by a  paper company  in Jackman,  Maine, and  proceeded to          their assigned  campsite about  one and  one-half miles past  the          gate  and 200 yards  or so beyond  the Hegarty cabin.   At around          9:00  that evening,  Katherine Hegarty became  extremely agitated          when  she saw  the campers  returning to  their campsite  for the          night,  and  began screaming  that  they  had  trespassed on  her          property.  The campers  assured her that the caretaker  had given          them permission to use the campsite and they would be leaving the          next morning.  To  which Katherine responded:  "Only if  you make          it until morning."   She then retrieved  a rifle from inside  the          cabin and fired six rounds from the porch in the direction of the          campers, who immediately took cover behind their trucks and boat.                    During  the next  hour  or so,  Katherine reloaded  her          rifle several times, firing approximately  twenty-five additional          rounds in the direction of the campers before eventually yielding          to their pleas for permission to depart in safety.  Leaving their          other belongings behind, the campers drove their vehicles quickly          past the cabin, where they saw  Katherine on the porch, rifle  in          hand.   Although no further  shots were fired, Katherine followed          the  campers in her truck  beyond the entrance  gate, then turned          back in the direction of her cabin.                    Upon their arrival  at a  truck stop  located on  Route          201, approximately two  miles from the woods road  entrance gate,                                          4
                                          4



          the campers  immediately placed a telephone call  to the Somerset          County Sheriff's Department.   Their report described a harrowing          encounter  with  an intoxicated,  distraught ("flipped  out") and          armed woman who might pursue them to the truck stop  and shoot at          them.  Four law enforcement officers were dispatched to the truck          stop    Maine State Trooper Gary Wright and three Somerset County          Sheriff's Department  officers:   Patrol Sergeant Wilfred  Hines,          Deputy Sheriff Rene Guay, and Reserve Officer Thomas Giroux, Jr.                     After  briefly  interviewing   the  four  campers,  the          officers decided  that the  suspect  had committed  at least  one          offense by shooting at the campers.  See Me. Rev. Stat. Ann. tit.
                                               ___          17-A,   211  (1994) (reckless endangerment).   Moreover, from the          description the campers gave  of the woman, the locations  of the          cabin and the campsite, and from their knowledge of the area, the          officers concluded that Katherine Hegarty was their suspect.  The          officers  knew  that Katherine  was an  experienced hunter  and a          licensed  Maine guide, with a  reputation as a  "crack shot," and          that she kept several  powerful firearms at her cabin.   Further,          the officers  knew she had some history  of emotional instability          (i.e., a nervous "breakdown"  in 1991, requiring sedation, physi-
           ____          cal  restraints and  a brief  period of  involuntary hospitaliza-          tion), substance abuse (two arrests for operating a motor vehicle          while  under  the  influence  of alcohol  ("OUI")  in  1991), and          incidents of  erratic, violent behavior directed  at law enforce-          ment personnel    kicking  and throwing punches at  State Trooper          Gary Wright, asking irrational questions, and exhibiting  extreme                                          5
                                          5



          mood swings  (alternately screaming and laughing) at  the time of          her first  OUI arrest, and an  assault/harassment against Trooper          Wright at his residence shortly after the same arrest.  For these          reasons, the officers concluded that they should arrest Katherine          immediately,  without obtaining  a  warrant or  informing her  of          their true  intentions until after  she had been  restrained, for          fear that she would become violent.                    At around  midnight, the  officers rendezvoused  with a          fifth officer,  Sergeant William  Crawford, Jr., of  the Somerset          County Sheriff's  Department, drove about three  miles and parked          their  cruisers  approximately a  mile  from  the Hegarty  cabin.          Their sporadic  discussions since meeting  at the truck  stop had          led  to a  skeletal  plan of  action  for effecting  the  arrest.          Concerned that Katherine might be  waiting for them somewhere  in          the vicinity, they  proceeded on  foot toward her  cabin, led  by          Trooper  Wright    with a police dog     in an effort to forewarn          themselves  of  Katherine's  presence  without   heralding  their          approach.   As  they  neared, at  approximately  12:15 a.m.,  the          officers  observed Katherine's  truck  in front  of the  darkened          cabin and heard a radio blaring music from inside.   The clearing          surrounding  the cabin was plainly visible  in the moonlight, but          the cabin interior was not illuminated.                       Following a quick visual  inspection of the cabin site          and the interior of  the Hegarty truck, four officers  approached          unannounced and  placed themselves  along the outer  cabin walls.          The  fifth officer, Thomas Giroux, Jr., who was better acquainted                                          6
                                          6



          with Katherine Hegarty,  gave a prearranged  signal to the  other          officers  from behind  a tree  across the  road in  front  of the          cabin.   Giroux  began  calling to  Katherine  by name      first          identifying himself and then expressing concern for her safety             in  an attempt  to coax  her from  the cabin  to speak  with him.          Giroux heard no response above the blaring radio.  Sergeant Hines          then pounded on the cabin door and identified himself as a deputy          sheriff.  He received no response.                    Meanwhile, Sergeant  Crawford, who  had worked  his way          around to  the rear  of the  cabin, shined  a  flashlight into  a          darkened window and  saw a  fully-clothed woman lying  on a  bed,          with a  rifle astride her chest.   When the woman  began to raise          the  rifle in his direction, Crawford dove for cover, yelling out          to the other officers that  there was an armed person inside  the          cabin.  Katherine soon asked Crawford to identify himself.  After          he  did so, Crawford heard  Katherine leave the  bedroom and move          toward the front of the cabin.  The radio  soon became inaudible.                    As Katherine  walked about inside  the darkened  cabin,          she kept asking what the officers were doing there, and requested          that they leave  her property.   The officers  replied that  they          were  investigating a report of  campsite burglaries in the area,          were concerned  for her safety, and wanted her to come out of the          cabin so  she could  speak with  them.   Laughing  intermittently          during  these  exchanges,  Katherine  ultimately  rejected  their          requests    stating that she had seen no one suspicious.                                            7
                                          7



                    Deputy Sheriff  Rene Guay    posted  outside the closed          window  at the front of the cabin     next saw Katherine face-to-          face as she  peered out the window from a  kneeling position on a          nearby couch.  When Guay trained his flashlight on her, Katherine          said, "I  can see you."  At this time, Guay observed that Kather-          ine had no weapon in hand nor within the  vicinity illuminated by          his flashlight.  Guay  immediately communicated this  information          to Sergeant Hines and  Trooper Wright, who were posted  on either          side of the front door, then gave them a signal to "go."                      Sergeant Hines  proceeded to  break in the  front door,          but  a chain  lock momentarily  delayed entry.   From  a crouched          position outside the front  window, Guay saw Katherine pick  up a          rifle beside the couch and begin to raise it in  the direction of          Hines and Wright, who were about to break through the front door.          As  she  continued to  raise the  rifle  in their  direction, the          officers ordered her to drop it.  Katherine paid no  heed and was          fatally wounded by the officers before she could fire a shot.           B.   The District Court Proceedings
          B.   The District Court Proceedings
               ______________________________                    In January  1993, John  Hegarty, in his  individual and          representative  capacities, filed  a four-count complaint  in the          District  of Maine  against,  inter alia,  the five  officers and
                                        _____ ____          their   respective  supervisors,  alleging  deprivations  of  the          Hegartys' Fourth and Fourteenth  Amendments rights, see 42 U.S.C.
                                                              ___             1983 (1994), and their state and federal statutory and consti-          tutional rights under  the Maine Civil  Rights Act ("MCRA"),  Me.                                          8
                                          8



          Rev.  Stat. Ann. tit.  5,   4682  (1994).2  All  defendants moved          for  summary judgment,  asserting  qualified  immunity from  suit          under  section 1983  and  the MCRA,  and contending  that neither          punitive damages,  nor compensatory  damages for loss  of spousal          consortium, are  recoverable against  them under section  1983 or          the MCRA.                    The district court ruled, inter alia, that (1) the five
                                              _____ ____          officers  at the  scene were  not immune  from suit  under either          section  1983  or the  MCRA,  because  no objectively  reasonable          police  officer  could  have  concluded  that  the  circumstances          confronting these officers gave rise to an exigency sufficient to          justify forcing  a warrantless entry  into the Hegarty  cabin for          the  purpose  of  effecting  Katherine's  immediate  arrest;  (2)          punitive  damages would be recoverable  were a jury  to find that          the officers at the  scene acted with reckless indifference;  (3)          Somerset County  Sheriff Spencer Havey was  entitled to qualified          immunity from suit relating to any "supervisory liability," since          he had no advance notice that officer training was deficient, and          since  his  subsequent  conduct,  though  "troublesome,"  did not          constitute "gross or reckless indifference"; and (4) compensatory          damages for loss of consortium were not recoverable  absent proof          that  the officers'  conduct had  been directed  at  John Hegarty          rather than at his deceased spouse alone.                      The officers  promptly took interlocutory  appeals from                                                                           
          _________________________________________________________________               2No  appeal  was  taken  from the  district  court  judgment          dismissing the wrongful death, see Me. Rev. Stat. Ann. tit. 18-A,
                                         ___            2-804 (1994), and common-law trespass claims.                                           9
                                          9



          the first and second district court rulings.  See Febus-Rodriguez
                                                        ___ _______________          v. Betancourt-Lebron, 14  F.3d 87, 90 (1st  Cir. 1994) (disallow-
             _________________          ance  of qualified  immunity  claim is  "final" appealable  order          under  Cohen "collateral  order" doctrine).   After  the district
                 _____          court directed that final judgment enter pursuant to Fed. R. Civ.          P.  54(b) on its third and fourth rulings, plaintiff John Hegarty          cross-appealed.                                           II
                                          II                                      DISCUSSION
                                      DISCUSSION
                                      __________          A.   The Officers' Immunity Claims
          A.   The Officers' Immunity Claims
               _____________________________               1.   Standard of Review
               1.   Standard of Review
                    __________________                    We review a  summary judgment order de novo,  under the
                                                        __ ____          identical  criteria  governing the  district court,  to determine          whether  "the pleadings, depositions, answers to interrogatories,          and admissions  on file,  together with  the affidavits,  if any,          show that there  is no genuine issue as to  any material fact and          that the  moving party  is entitled to  judgment as  a matter  of          law."  Fed. R. Civ. P. 56(c); see Jirau-Bernal v. Agrait, 37 F.3d
                                        ___ ____________    ______          1, 3  (1st Cir.  1994).   All contested facts  are viewed  in the          light  most favorable  to the  party resisting  summary judgment.          Id.
          ___               2.   The Qualified Immunity Doctrine
               2.   The Qualified Immunity Doctrine
                    _______________________________                     Like other government officials performing discretion-          ary  functions, law  enforcement  officers hailed  into court  in          their individual capacities to respond in damages are entitled to          qualified  immunity  from  suit  in civil  rights  actions  under                                          10
                                          10



          section  1983, provided  their conduct  did "not  violate clearly          established statutory or constitutional rights of which a reason-          able  [police officer] would have known."   Harlow v. Fitzgerald,
                                                      ______    __________          457  U.S. 800, 818 (1982);  Burns v. Loranger,  907 F.2d 233, 235
                                      _____    ________          (1st Cir. 1990).  In Anderson  v. Creighton, 483 U.S. 635 (1987),
                               ________     _________          the Supreme  Court refined the focus of the policy considerations          underlying the qualified immunity doctrine.                         When  government  officials abuse  their                    offices, "action[s] for damages may offer the                    only  realistic  avenue  for  vindication  of                    constitutional   guarantees."     Harlow   v.
                                                      ______                    Fitzgerald, 457  U.S., at 814.   On the other
                    __________                    hand, permitting damages  suits against  gov-                    ernment  officials   can  entail  substantial                    social costs, including the risk that fear of                    personal  monetary  liability  and  harassing                    litigation will unduly  inhibit officials  in                    the discharge  of their  duties.  Ibid.   Our
                                                      ____                    cases  have  accommodated  these  conflicting                    concerns  by  generally providing  government                    officials performing discretionary  functions                    with  a  qualified  immunity, shielding  them                    from civil damages liability as long as their                    actions  could  reasonably have  been thought                    consistent with  the rights they  are alleged                    to have violated.  See, e.g., Malley v. Brig-
                                       ___  ____  ______    _____                    gs, 475 U.S. 335, 341 (1986) . . . .
                    __          Anderson, 483 U.S. at 638.3  As this court has explained, 
          ________                    appellate assessment of [a] qualified immuni-                    ty claim  is  apportioned into  two  analytic                    components.  First, if the  right asserted by                    the  plaintiff  was "clearly  established" at                    the time  of  its alleged  violation, we  are                    required to assume that  the right was recog-                    nized by the  defendant official, see Harlow,
                                                      ___ ______                    457 U.S. at 818, 102  S. Ct. at 2738;  Rodri-
                                                           ______                    guez v.  Comas, 888  F.2d 899, 901  (1st Cir.
                    ____     _____                    1989);  second,  we  will deny  the  immunity                                                                           
          _________________________________________________________________               3The same "qualified immunity"  analysis applies to the MCRA
               3          claims.    See Jenness  v. Nickerson,  637  A.2d 1152,  1159 (Me.
                     ___ _______     _________          1994).                                           11
                                          11



                    claim  if a  reasonable official  situated in                    the same circumstances should have understood                    that  the  challenged  conduct violated  that                    established  right, see Anderson, 483 U.S. at
                                        ___ ________                    640-41, 107 S.  Ct. at  3039; Rodriguez,  888
                                                  _________                    F.2d at 901.          Burns, 907 F.2d at 235-36.
          _____                    The  Hegartys correctly  contend, of  course, that  the          Fourth and  Fourteenth Amendments to the  United States Constitu-          tion prohibited  a warrantless entry  into the  Hegarty cabin  to          effect Katherine's  arrest, except in  exigent circumstances  and          with probable cause.   See Welsh v. Wisconsin, 466  U.S. 740, 749
                                 ___ _____    _________          (1984);  Payton v. New York, 445 U.S. 573, 586 (1980); Buenrostro
                   ______    ________                            __________          v. Collazo, 973 F.2d 39, 43 (1st Cir. 1992).  Indeed, the consti-
             _______          tutional rights allegedly violated  were clearly established long          before this tragic incident occurred.  Accordingly, the defendant          officers are  deemed to have been on  notice of the relevant con-          stitutional protections  constraining their actions.   Burns, 907
                                                                 _____          F.2d at 235-36.  Therefore, qualified immunity affords the defen-          dant  officers no  safe  haven unless  an objectively  reasonable
                                                    ___________          officer, similarly  situated, could have believed  that the chal-
                                        _____ ____ ________          lenged police conduct did not violate the Hegartys' constitution-
                                    ___          al rights.  Id. at 236.  
                      ___                    Thus, the qualified immunity inquiry does not depend on          whether the  warrantless entry was constitutional,  but allows as          well for  the inevitable reality that  "law enforcement officials
                                                  ___ ___________ _________          will in some cases reasonably but mistakenly conclude that [their
          ____ __ ____ _____ __________ ___ __________ ________          conduct] is  [constitutional], and . .  . that . .  . those offi-
                                                                _____ _____          cials    like  other officials  who act in  ways they  reasonably
          _____                                          12
                                          12



          believe  to be lawful     should not be  held personally liable."
                                    ______ ___ __  ____ __________ ______          Anderson,  483 U.S. at 641  (emphasis added); Burns,  907 F.2d at
          ________                                      _____          237.  In other  words, qualified immunity sweeps so  broadly that          "all  but the plainly incompetent  or those who knowingly violate          the law" are protected from civil rights suits for money damages.          Hunter v. Bryant,  502 U.S.  224, 229 (1991)  (quoting Malley  v.
          ______    ______                                       ______          Briggs, 475 U.S. 335, 341  (1986)); cf. Roy v. City  of Lewiston,
          ______                              __  ___    _________________          42 F.3d 691, 695 (1st Cir. 1994) ("[T]he Supreme Court's standard          of reasonableness  is comparatively generous to  the police where          potential danger, emergency  conditions or other exigent  circum-          stances are present.").                    Lastly, we assess the  challenged police conduct with a          view  to determining its "objective legal reasonableness," Ander-
                                    _________ _____                  ______          son,  483 U.S. at 639 (emphasis added), which entails two pivotal
          ___          features.   First,  the  qualified immunity  inquiry takes  place          prior to trial, on  motion for summary judgment, see  Mitchell v.
                                                           ___  ________          Forsyth,  472 U.S. 511, 526 (1985) (qualified immunity provides a
          _______          shield against  the burdens of  litigation, not merely  a defense
                              _______ __  __________  ___ ______          against  liability  for money  damages),  and  requires no  fact-          finding,  only a  ruling of  law strictly  for resolution  by the          court, see Amsden v. Moran, 904 F.2d 748, 752-53 (1st Cir. 1990),
                 ___ ______    _____          cert. denied, 498 U.S.  1041 (1991); Hall v. Ochs, 817  F.2d 920,
          _____ ______                         ____    ____          924  (1st Cir. 1987).   Thus, under  the policy-driven "objective          legal reasonableness" analysis governing our inquiry, even expert
          _____          testimony relating  to appropriate police procedures  in the cir-
                                             ______ __________          cumstances  confronting  the  officers  may  not  afford  certain                                          13
                                          13



          insulation against  summary judgment in the  "qualified immunity"          context.                      We turn then to consider whether an objectively reason-          able  police officer could have  believed    in the circumstances
                               _____          prevailing before Katherine Hegarty  was mortally wounded    that
                     ______          "exigent  circumstances"  and "probable  cause"  existed for  the          forcible, warrantless, nighttime entry into the Hegarty cabin.                                           14
                                          14



               3.   The Qualified Immunity Analysis
               3.   The Qualified Immunity Analysis
                    _______________________________                    (i)  Probable Cause
                    (i)  Probable Cause
                         ______________                    The "probable  cause" requirement was met  if the offi-          cers  at the scene collectively possessed, Burns, 905 F.2d at 236
                                                     _____          n.7, "reasonably trustworthy information [sufficient]  to warrant          a prudent [person] in believing that [Katherine Hegarty] had com-          mitted  or was committing a  [criminal] offense."   Beck v. Ohio,
                                                              ____    ____          379 U.S.  89, 91  (1964).   As the  Supreme Court  has explained,          "[i]n dealing  with probable cause,  . . .  as the very  name im-          plies, we deal with probabilities.  These are not technical; they          are the factual and practical  considerations of everyday life on          which reasonable  and prudent  men, not legal  technicians, act."          Illinois  v. Gates, 462 U.S. 213, 231 (1983) (quoting Brinegar v.
          ________     _____                                    ________          United  States, 338 U.S.  160, 176 (1949)).   See also Burns, 907
          ______________                                ___ ____ _____          F.2d at 236 (quoting Gates).
                               _____                    On  appeal, the  plaintiff contests  the assumption              indulged  arguendo by the district court    that there was proba-
                    ________          ble  cause for  Katherine Hegarty's  arrest.   He argues  that no          competent officer  in these circumstances  reasonably could  have          believed that Katherine    a "crack shot"    intended to harm the          campers,  especially since no bullets struck  the trucks and boat          behind which the campers took cover.    We do not agree.  Rather,          based on the information that Katherine may  have been intoxicat-          ed, an  objectively reasonable officer could  have concluded that          her errant  aim  was not  attributable  to a  lack of  intent  to          endanger.   Consequently, we  conclude, based on  the "reasonably                                          15
                                          15



          trustworthy information"  available to the defendant  officers at          the  scene, see  supra pp.  3-8, that  an objectively  reasonable
                      ___  _____          police officer  could  have  formed  the belief  that  there  was          probable cause  to arrest  Katherine Hegarty  for the offense  of          reckless endangerment.  See, e.g., Me. Rev. Stat. Ann. tit. 17-A,
                                  ___  ____            211 ("A person is  guilty of reckless conduct if  he recklessly          creates a substantial  risk of serious  bodily injury to  another          person.");    15  (authorizing warrantless  arrests for  reckless          conduct with a firearm).                     (ii) Exigent Circumstances
                    (ii) Exigent Circumstances
                         _____________________                    A warrantless, forcible entry of a private residence is          permissible  in certain  limited  circumstances, including:   (1)          "hot  pursuit" of a fleeing  felon; (2) threatened destruction of          evidence inside a residence before a warrant can be obtained; (3)          a risk that the suspect may escape from the residence undetected;          or (4)  a threat, posed by a  suspect, to the lives  or safety of          the public, the police officers, or to herself.  See Minnesota v.
                                                           ___ _________          Olson, 495 U.S.  91, 100 (1990).  We have  held that a cognizable
          _____          exigency  must  present  a  "compelling  necessity  for immediate          action  that w[ould] not brook the delay of obtaining a warrant."          United States v.  Almonte, 952 F.2d 20, 22 (1st Cir. 1991), cert.
          _____________     _______                                   _____          denied, 112 S. Ct.  1776 (1992) (quoting United States  v. Adams,
          ______                                   _____________     _____          621 F.2d 41, 44 (1st Cir. 1980)).  Conversely, certain mitigating          factors  may undermine  a showing  of exigent  circumstances; for          example, where the criminal  offense was not sufficiently serious          (a traffic violation), Welsh, 466 U.S. at 753 n.6, the opportuni-
                                 _____                                          16
                                          16



          ty afforded  the suspect for peaceable  surrender was inadequate,          or the entry  occurred in  the nighttime.   See generally  United
                                                      ___ _________  ______          States v. Adams, 621 F.2d 41, 44 (1st Cir. 1980).
          ______    _____                    The  defendant  officers challenge  the  district court          ruling that  no  competent police  officer could  have formed  an          objectively reasonable belief that "exigent circumstances" justi-          fied a forcible, warrantless  entry for the purpose  of effecting          Katherine Hegarty's  immediate arrest.   They argue  that it  was          reasonable  to believe      based on  the reasonably  trustworthy          information available to them at the time    that Katherine posed          an  imminent and  unpredictable threat  to their  safety, and  to          herself.                      Earlier in  the day, Katherine had  engaged in violent,          life-threatening conduct against peaceable, unarmed campers.  She          was known to have demonstrated emotional instability and hostili-          ty  toward  law  enforcement personnel  in  the  past, which  had          prompted her to attack  and threaten State Trooper Wright  on two          separate occasions.  At  the cabin, she pointed a  rifle directly          at Sergeant Crawford, exhibited irrational and possibly  suicidal          behavior (laughing "like  a witch") in response  to the officers'          repeated requests that she discuss matters with them.  The defen-          dant officers maintain that she could have decided at any time to          fire at  them through  the "paper thin"  cabin walls  or as  they          attempted to retreat across  the moonlit clearing.  Consequently,          the officers contend, there was an ongoing exigency which made it          reasonable to  attempt to  disarm Katherine whenever  it appeared                                          17
                                          17



          least likely that she possessed or could retrieve a weapon.4                    Plaintiff acknowledges  that the  officers did  not use
                                                                    ___          excessive force to protect themselves after they forcibly entered          the cabin and  were confronted by  Katherine, with rifle  raised.          Cf.  Roy, 42  F.3d at  695-96.   Rather, he  contends that  their
          ___  ___          precipitous and  ill-conceived strategy    arrived  at before the
                                                                 ______          officers ever left the  truck stop    deviated  unreasonably from          standard police  tactics in crisis situations  and inexorably led          to Katherine's  death.  Cf. United States  v. Curzi, 867 F.2d 36,
                                  ___ _____________     _____          43  n.6  (1st Cir.  1989) (police  may  not manipulate  events to          create an "exigency" justifying warrantless entry).                     William  McClaran,  plaintiff's expert,  testified that          the defendant officers deviated  in two fundamental respects from          standard  police practice  in a  crisis.   First, they  failed to          define  their exact  "chain  of command"  before  setting out  to          effect  Katherine's arrest.   Consequently,  each officer  at the          scene was  left to determine his own movements on an ad hoc basis
                                                               __ ___          ("freelancing"),  without  adequate  coordination   among  them.5                                                                           
          _________________________________________________________________               4Reserve Officer Giroux and Sergeant Crawford, who played no          direct  role in the forcible entry and were responding to orders,          claim entitlement  to  qualified  immunity  by  reason  of  their          "lesser" participation.   Given our holding, we  need not address          their claim.                5McClaran pointed  to several instances of  "freelancing" at          the Hegarty cabin.  First, although Officer Giroux alone had been          charged with  initiating communications with  Katherine, Sergeant          Hines unilaterally  deviated from  the arrangement by  banging on          the  cabin door.  Second,  the failure to  coordinate their move-          ments  before arriving  at the  scene created  the risk  that the          officers might be  caught in  their own cross-fire.   Third,  the          officers  gave Katherine  confusingly different  explanations for                                          18
                                          18



          Second, the officers eschewed  accepted rules of "containment" by          needlessly placing  themselves in peril against  the "paper thin"          outer walls of the cabin.  Plaintiff opines that upon approaching          the cabin, the officers harbored a reasonable belief that Kather-          ine was inside, given the music blaring from within the cabin and          the presence of her  truck in the cabin clearing.   Consequently,          and since the officers  knew Katherine was armed and  appeared to          be acting irrationally, two  officers should have taken concealed          positions at the edge  of the woods surrounding the  cabin clear-          ing, thereby cutting off any attempted escape.  Thereafter,  from          a safer distance, other  officers could have begun the  effort to          coax Katherine to come outside, while another officer returned to          the police  cruisers and  radioed for  assistance from the  Maine          State Tactical Team.                      We  must isolate  all  reasonably reliable  information          collectively known to the  officers at the time  their challenged          conduct occurred, without  indulging hindsight,  see Hunter,  502
                            _______  _________ _________   ___ ______          U.S.  at 227,  to  determine whether  an "objectively  reasonable          officer," with  the identical information,  could have  concluded
                                                      _____          that there  were exigent  circumstances sufficient to  support an          immediate forcible  entry of the  Hegarty cabin  to effect  Kath-          erine's  warrantless arrest.  See Graham v. Connor, 490 U.S. 386,
                                        ___ ______    ______          396 (1989).   Any genuine dispute as to what the officers knew or
                                    _______                         ____ __                                                                           
          _________________________________________________________________          their presence at the  cabin.  Finally, the officers  agreed that          should a  forcible entry  become necessary, Sergeant  Hines would          enter  first, whereas in fact a  subordinate officer (Guay) ended          up giving the irrepealable signal to launch the forcible entry.                                            19
                                          19



          did must  be resolved  in the plaintiff's  favor.   See Fonte  v.
          ___                                                 ___ _____          Collins, 898 F.2d 284,  285 (1st Cir. 1990).  Even then, however,
          _______          summary judgment for the  defendant officers would be appropriate          if any such factual  dispute were immaterial as a  matter of law;          that is,  if it would not  alter the required analysis  as to the          "legal reasonableness"  of their conduct.   See, e.g.,  Prokey v.
           _____                                      ___  ____   ______          Watkins, 942 F.2d 67, 73  (1st Cir. 1991) (citing cases  in which
          _______          material factual disputes precluded summary judgment on qualified          immunity claim); see also Cameron v. Seitz, 38 F.3d 264,  273 n.2
                           ___ ____ _______    _____          (6th Cir. 1994) (same).6                      Following  a careful examination  of the applicable law          and all  competent evidence presented  to the  district court  at          summary judgment,  we conclude  that the benchmark  against which          plaintiff would have us evaluate the challenged police conduct is          impermissibly stringent for the qualified immunity context, since          it fails  to acknowledge  an overarching reality  confronting the          officers at  the most  critical moment of  decision; viz.,  until
                                                               ___          Sergeant  Crawford  saw  Katherine  Hegarty  through the  bedroom          window  of the cabin, there was no conclusive evidence that their
                                _____ ___ __ __________ ________ ____ _____          suspect had been located or contained at all. 
          _______ ___ ____ _______ __ _________ __ ___                    The  officers  initially  devised a  "plan"  which they                                                                           
          _________________________________________________________________               6We  need to  note the  obvious  as well.   Even  though the          isolation of the Hegarty cabin and the death of Katherine Hegarty          dictate that virtually all relevant  evidence derives exclusively          from the  officers at the  scene, see  Scott v. Henrich,  39 F.3d
                                            ___  _____    _______          912, 915 (9th  Cir. 1994)  ("the officer defendant  is often  the          only surviving eyewitness" in  qualified immunity cases), summary          judgment  nonetheless must be granted absent a genuine dispute as          to a material issue. See Jirau-Bernal, 37 F.3d at 3.
                               ___ ____________                                          20
                                          20



          characterized  as  "locate,  identify,  contain,  negotiate,  and          arrest."   Obviously,  "location" and  "identification" would  be          imperative before any other element in their plan  could proceed.
                     ______          The officers  knew that Katherine had  fired approximately thirty          rounds  toward the  campers  earlier in  the  evening.   And,  in          addition to  their collective knowledge of  her erratic, unlawful          behavior  in the recent past,  the officers had  learned from the          campers  that Katherine  was  last seen  driving  her truck.    A
                                                   _______  ___ _____          competent police  officer in these circumstances     possessed of          this disturbing  information    certainly could  harbor an objec-          tively reasonable concern that Katherine might yet remain mobile,
                                                                    ______          thereby posing  a  continuing  danger  to other  persons  in  the
                                                                    __  ___          vicinity.  
          ________                    Several other campsites in  the vicinity of the Hegarty          cabin were  occupied, and without knowing  the precise motivation          for  Katherine's  unprovoked,  armed response  to  the  peaceable          presence  of the four campers  earlier in the  evening, an objec-          tively reasonable  officer  prudently could  presume  that  other          campers  might be  at similar risk.   In  fact, their  use of the          police dog while proceeding along the woods road toward the cabin          attests  to  the  officers'  alertness to  the  possibility  that          Katherine  could be lying in wait in  the woods.  Deciding not to          take  the risk attendant  upon the delay  necessarily entailed in          obtaining a warrant, the officers accordingly placed top priority          on conclusively  locating their suspect at  the earliest possible
             ____________  ________          time so  as to minimize the  threat posed to the  safety of other                                          21
                                          21



          campers.    See Olson,  495  U.S. at  100  (exigent circumstances
                      ___ _____          include the need to  safeguard against threats to life  or safety          of others); Almonte, 952 F.2d at 22.7 
                      _______                    Quite  contrary  to  the  major  premise   for  William          McClaran's  expert  opinion,  by  the time  they  arrived  at the          Hegarty cabin  the officers had received  decidedly mixed signals
                                                              _____          concerning their suspect's location.   The parked truck suggested          that Katherine might be inside the cabin, but the lack of artifi-          cial illumination suggested otherwise.  The blaring music did not          conclusively disprove either hypothesis.   Nor had Katherine been          seen or heard entering  or moving about inside the cabin.   Thus,          it  was in no sense  improbable that Katherine,  a licensed guide          and experienced  hunter, had  left her  vehicle and departed  the          cabin site on foot.                     Nor was the alternative  police strategy posited by Mr.          McClaran without its shortcomings.   Of course, had  the officers          chosen to cordon off the cabin from a "safe"  distance, and begun          calling out to  Katherine in  the hope they  might negotiate  her          surrender     and  had she responded     the  "containment" phase
                        ___  ___ ___ _________          could have proceeded  apace.  On  the other hand, had  she simply          failed  to respond     either  because she  could not  hear their          calls  above the blaring music, or because she had fully expected          them to investigate the campers'  allegations and wanted to  keep                                                                           
          _________________________________________________________________               7The exigency created by  the realistic danger the unlocated          suspect posed to other campers in the vicinity  likewise substan-          tially  mitigated an  aggravating  factor noted  by the  district          court:  the fact that the warrantless entry took place at night.                                           22
                                          22



          them off guard     the officers still would  be left to speculate          whether she was in the cabin.                      Since time  was of the  essence, and it  was imperative          that they locate and identify their suspect so as to rule out the          continuing danger she could  pose to others in the  vicinity, the          officers then  would have faced an irreconcilable quandary.  They          could  undertake a  "containment" strategy  along the  lines pro-          pounded by McClaran,  which would necessitate a delay  of several          hours  for  the Maine  State Tactical  Team  to reach  the cabin,          thereby countenancing the realistic risk that their suspect might          be  elsewhere at  that  very moment  jeopardizing  the safety  of          others.8   Or, having heralded their  arrival, the officers could          have attempted  to confirm  Katherine's  presence through  visual          contact,  by approaching the  outer walls  of the  darkened cabin          across  the  moonlit  clearing, thereby  exposing  themselves  to          gunfire from their  armed and  unpredictable suspect     by  then          forewarned and concealed.                    Law  enforcement officers quite  often are  required to          assess  just  such  probabilities,  and to  weigh  the  attendant          contingencies.   And  it is  precisely such  spontaneous judgment          calls    borne of necessity in rapidly evolving, life-endangering          circumstances     that  the qualified  immunity doctrine  was de-          signed to insulate from judicial second-guessing in civil actions          for  money damages,  unless  the challenged  conduct was  clearly                                                                           
          _________________________________________________________________               8Once  the tactical  team  had arrived,  moreover, it  would          still  have been necessary to  confirm    by  some means    Kath-          erine's presence in the cabin.                                           23
                                          23



          incompetent or undertaken in  plain violation of established law.          See Hunter, 502 U.S. at 229; Anderson, 483 U.S. at 638.
          ___ ______                   ________                                          24
                                          24



                    Thus,  we do  not determine  which of  these strategies          represented the  more prudent course  or posed the  least serious
                           ____                               _____          risk to the suspect, the officers or others in the vicinity.  See
                                                                        ___          Scott v. Henrich, 39  F.3d 912, 915 (9th Cir.  1994) (noting that
          _____    _______          "[o]fficers  need not  avail  themselves of  the least  intrusive
                                                       ___ _____  _________          means of responding to  an exigent situation; they need  only act
          _____          within  that range  of  conduct [which  is]  . .  .  reasonable";          contrary  rule "would  inevitably induce  tentativeness by  offi-          cers").   Rather,  we consider  only whether  a competent  police          officer in these circumstances reasonably could have opted for an          unannounced approach to the cabin walls forthwith.                      As we conclude that  a competent police officer reason-          ably could  have believed  that  exigent circumstances  warranted          approaching  the cabin walls     forthwith and  unannounced    we
                                           _________ ___  ___________          turn to the remaining  question:  whether the defendant  officers              once  committed, and  assured that  Katherine was  inside the          cabin where she no longer posed a viable threat  to other campers             reasonably could  have believed that she  represented an immi-          nent physical threat  to their own safety.9  See  Olson, 495 U.S.
                                                       ___  _____          at 100.                      The expert  testimony on  which plaintiff relies  makes                                                                           
          _________________________________________________________________               9Although we  need not  resolve the matter  definitively, we          have  serious  reservations whether  the  officers' actions  were          justified by  concern that  Katherine might  take  her own  life.          True,  the objective  evidence indicated  that she  had exhibited          behavior  both violent  and unpredictable,  yet the  evidence re-          vealed  that her  conduct  was directed  at third  parties, never          herself.   Nor had she  said anything to  the officers that might          indicate suicidal intent.                                          25
                                          25



          much of the notion that the entire plan for approaching the outer          cabin  walls  was  ill-conceived  and  uncoordinated  ab  initio,
                                                                __  ______          whereas  the  officers plausibly  contend  that  they had  worked          together as a team so often in the past that their basic plan and          tactics were  implicitly understood.  But  even accepting William          McClaran's prescription as to an appropriate police procedure for          use  in  these circumstances,  plaintiff does  not explain  how a          differently formulated plan     devoid of the suggested deficien-          cies in the officers'  plan    inevitably would have  averted the          exigency ultimately confronting  them.   See supra notes  5 &amp;  8.
                                                   ___ _____          Indeed,  none  of the  consequences  McClaran  attributed to  the          alleged absence of a "chain of command," or to lack of  coordina-          tion  in  the officers'  plan,  clearly  constituted a  causative
                                                                  _________          factor in  Katherine's death.10   Rather, the  causative exigency          derived  primarily from  three  factors over  which the  officers          never had exclusive control:   the need to  ascertain Katherine's          precise location as soon as possible, her unpredictable behavior,          and  the  lack of  protective cover  for  their own  movements in                                                                           
          _________________________________________________________________               10Plaintiff misfocuses the  "qualified immunity" analysis by          inquiring  whether  all aspects  of  the  officers' conduct  were
                              ___ _______          executed  in the manner to be expected of an "objectively reason-          able" officer, rather than whether the particular decisions which
                                                 __________ _________ _____          led  to Katherine's death reasonably could have been made by such
          ___  __ ___________ _____          an  officer.  Thus, for example, even assuming the plan increased          the risk that  an officer  might be caught  in another  officer's          cross-fire, the subsequent decision to enter and disarm Katherine          was not implicated thereby.   Furthermore, the officers' "differ-          ing" responses  to Katherine's inquiries were not so much confus-          ingly  inconsistent,  as  consistently  misleading.    But  their          responses were also deliberately designed to reduce the risk that          she might react violently, as by their consistent  expressions of          concern for Katherine's safety  and their scrupulous avoidance of          any mention of her impending arrest.                                          26
                                          26



          locating and containing her.                     Second,  though  plaintiff  argues  that  the  officers          delayed  their forcible entry until  they were safest     when it
                                               ____          "appeared" to Officer  Guay that Katherine was unarmed and beyond          arm's  reach from a  firearm    surely  this argument exaggerates          their on-the-spot sense of personal security by failing to assess          the imminence of a perceived  danger in light of the  totality of
                                                                ________ __          the  circumstances. See United States v. Veillette, 778 F.2d 899,
          ___  _____________  ___ _____________    _________          902 (1st Cir.  1985) (exigency is assessed  by viewing "totality"          of circumstances), cert. denied, 476 U.S. 1115 (1986). 
                             _____ ______                    Katherine moved freely about the unilluminated interior          of the locked cabin, which contained deadly firearms  whose exact          number and location  were unknown  to the officers.   Cf.,  e.g.,
                                                                ___   ____          United States v.  Smith, 797  F.2d 836, 841-42  (10th Cir.  1986)
          _____________     _____          (exigency  established for  warrantless  entry  where agents  ap-          proached aircraft with probable cause to  believe it might harbor          armed drug dealers);   United  States v. Guarente,  810 F.  Supp.
                                 ______________    ________          350, 352-53  (D. Me. 1993) (exigency  established for warrantless          entry where  officers remained uncertain about  the intentions of          armed suspects who might remain  inside structure).  Only minutes          before,  Katherine had  pointed her  rifle at  Sergeant Crawford.          Cf.  O'Brien v. City of Grand Rapids,  23 F.3d 990, 997 (6th Cir.
          ___  _______    ____________________          1994)  (qualified immunity  claim disallowed  where suspect  "had          taken no action against  the officers" and "did not point the gun                                          27
                                          27



          at  anyone";  noting   that  threat  to   police  must  be   "im-          mediate").11   Prior to  their forced  entry, the  officers real-          ized that  the cabin walls  were "paper  thin,"12 thus  affording          insufficient cover  should Katherine  decide to fire  from inside          the  cabin      a  serious contingency  that  competent  officers          reasonably could take into  account given the violent, irrational          and unpredictable behavior recently exhibited by their barricaded          suspect,  including her  peculiar bouts  of laughter,  history of          emotional  instability  and  demonstrated antagonism  toward  law          enforcement personnel.   In such circumstances, competent  police          officers reasonably could conclude  that to announce their inten-          tion  to place the barricaded suspect  under arrest    dispensing          with their  ruse that they were  there only to help  her    might          well spark renewed violence.                                                                           
          _________________________________________________________________               11Although plaintiff argues that this incident  cannot serve          to  establish an  exigent circumstance     because  Katherine may          have  pointed the gun at  Crawford before she  recognized that he
                                             ______          was a police officer     omniscience is not the  presumed mindset          with  which an  objectively reasonable police  officer approaches          life-endangering decisions.   The correct  focus must  be on  the          significance  an  objectively  reasonable  police  officer  might          attach to the  threatening action, in  circumstances where he              like Sergeant  Crawford     could not  know, with  assurance, the
                                                 ____          suspect's exact  state of mind or  intent.  Cf.,  e.g., Gibson v.
                                                      ___   ____  ______          Officer,  P.A., 44 F.3d 274, 277-78 (5th Cir. 1995) (proper focus
          ______________          is  not upon factual dispute as to whether suspect was intoxicat-          ed, but whether  objective facts might lead  a reasonable officer          so to  conclude); Slattery v. Rizzo, 939  F.2d 213, 216 (4th Cir.
                            ________    _____          1991) (police officer's belief that suspect was reaching  for gun          was "reasonable" even though object turned out to be a bottle).                12Their vulnerability  to gunfire from within  the cabin was          later  confirmed.   McClaran  himself noted  that several  police          bullets    fired  immediately after the forcible entry     passed          through the cabin walls. 
          _______                                          28
                                          28



                    Finally, once their objectively  reasonable locate-and-          contain strategy had positioned  several officers in unexpectedly          vulnerable positions against the thin cabin walls, cf. Curzi, 867
                                                             __  _____          F.2d  at 43,  they could  neither remain  in their  positions in-          definitely  nor safely  terminate  the impasse  by attempting  to          retreat  across  the  moonlit  cabin  clearing  without  directly          exposing themselves to potential gunfire.  Thus, safe and indefi-          nite  containment      either  from  their  vulnerable  positions          against the  cabin walls or from a  "safer" distance    no longer          remained a practicable alternative.  Cf. United States v. Wilson,
                                               ___ _____________    ______          36 F.3d 205, 210  (1st Cir. 1994) (upholding denial of  motion to          suppress evidence because police  officers should not be required          to  remain  indefinitely outside  apartment  located in  building          which was well-known site  of prior drug sales and  police shoot-          ings); Guarente,  810 F. Supp.  at 352-53 (finding  it reasonable
                 ________          for police to enter building in  circumstances where their alter-          native  was to remain  potential targets for  any concealed armed          suspect who might be inside); cf. also United States v. Hardy, __
                                        ___ ____ _____________    _____          F.3d ___, ___ (7th Cir. 1995)  [No. 94-2820, 1995 U.S. App. LEXIS          7605  (7th Cir. Apr. 5, 1995)] (finding exigent threat to officer          safety where  armed suspect, with  known history of  violence and          drug use, was inside locked motel room and within "easy reach" of          powerful firearm);  Russo  v. City of Cincinnati, 953  F.2d 1036,
                              _____     __________________          1044-45 (6th  Cir. 1992) (finding that  no unreasonably excessive          force had been  used against  an armed and  "suicidal" person              barricaded inside  apartment     who had made  threatening state-                                          29
                                          29



          ments toward police officers while in intermittent close proximi-          ty  to them,  and showed  signs of  serious mental  instability);          Smith,  797 F.2d at 841 (exigency  established where officers had
          _____          probable cause to  believe aircraft, which had landed at isolated          airfield after dark, might harbor armed drug dealers).                                            30
                                          30



                    We therefore  conclude that a competent  police officer             possessing the same information  the defendant officers had on          May  15, 1992    reasonably  could have believed  both that there          existed probable  cause to  arrest Katherine Hegarty  and exigent          circumstances  justifying  their  immediate   warrantless  entry.          Consequently, the summary judgment  order entered by the district          court must be vacated,  and summary judgment must be  entered for          the defendant officers.           B.   Sheriff Havey's Qualified Immunity Claim
          B.   Sheriff Havey's Qualified Immunity Claim
               ________________________________________                    Although Somerset County Sheriff Spencer  Havey did not          participate in the events of May 15, 1992, plaintiff advances two          related challenges to the summary judgment order entered in favor          of Havey.  First, plaintiff argues that Havey failed to train his          officers adequately  or to  institute written standard  operating          procedures ("SOPs"),  even though  it was  reasonably foreseeable          that  these  deputy  sheriffs likely  would  encounter  so-called          "barricaded felon"  cases on  a frequent basis  in rural,  wooded          Somerset County.  Second, even assuming that a need for addition-          al  training and  SOPs  had not  been  foreseeable prior  to  the          Hegarty incident, Sheriff Havey's subsequent conduct would enable
                                            __________          a  factfinder to  infer  that Havey  had  condoned the  officers'          conduct, or been indifferent to the need for better training long          before  May  15, 1992.   For  example,  Sheriff Havey  refused to          discipline  his  officers for  the  fatal  shooting of  Katherine          Hegarty, as recommended in  the Attorney General's final investi-          gative  report.   Nor did  he  institute additional  training, as                                          31
                                          31



          recommended  by a citizen review  board convened by  Havey in the          wake of the tragic event.                 1.   Applicable Law
               1.   Applicable Law
                    ______________                    Under 28  U.S.C.    1983,  supervisory law  enforcement          officers incur  no respondeat superior liability  for the actions
                             __________ ________          of their subordinates.  See, e.g., City of Canton  v. Harris, 489
                                  ___  ____  ______________     ______          U.S. 378, 385  (1989).   Absent participation  in the  challenged          conduct, a supervisor "can be held liable . . . [only] if (1) the          behavior  of  [his]  subordinates  results  in  a  constitutional          violation  and  (2) the  [supervisor's]  action  or inaction  was          'affirmative[ly] link[ed]' to  the behavior in the  sense that it
           _______________ ________          could be characterized as 'supervisory encouragement, condonation          or acquiescence' or 'gross negligence [of the supervisor] amount-          ing  to  deliberate indifference.'"    Lipsett  v. University  of
                   __________ ____________       _______     ______________          Puerto  Rico, 864  F.2d  881, 902-03  (1st  Cir. 1988)  (emphasis
          ____________          added) (citations  omitted); see  Rodriques v. Furtado,  950 F.2d
                                       ___  _________    _______          805, 813  (1st Cir. 1991) (discussing  deliberate indifference to          officer training).  Deliberate indifference will be found only if          "it would be manifest to any reasonable official that his conduct          was   very  likely  to  violate  an  individual's  constitutional          rights."   Febus-Rodriguez,  14  F.3d at  92 (quoting  Germany v.
                     _______________                             _______          Vance, 868 F.2d 9,  18 (1st Cir. 1989)).  The  "affirmative link"
          _____          requirement contemplates proof that  the supervisor's conduct led          inexorably to  the constitutional violation.   See id.;  see also
                                                         ___ ___   ___ ____          Fraire  v. City  of Arlington,  957 F.2d  1268, 1281  (5th Cir.),
          ______     __________________          cert. denied, 113 S. Ct. 462 (1992).
          _____ ______                                          32
                                          32



                                                    33
                                          33



               2.   Application of Law to Facts
               2.   Application of Law to Facts
                    ___________________________                    The  determination that  a subordinate  law enforcement          officer is entitled to qualified immunity from suit under section          1983 is not necessarily  dispositive of the supervisor's immunity          claim.  Nevertheless, it  does increase the weight of  the burden          plaintiff  must bear  in demonstrating  not only a  deficiency in          supervision but also the  essential causal connection or "affirm-
                                              ______ __________          ative linkage" between any such deficiency in supervision and the          alleged deprivation  of rights.   We conclude that  plaintiff has          not carried this heavy burden.                     We  find the district  court's preliminary  analysis of          Sheriff Havey's qualified immunity claim to be well  reasoned and          persuasive.  The evidence  demonstrates that Sheriff Havey, newly          elected  to office, had no  notice that the  deputy sheriffs were          experiencing  problems  in   dealing  with  "barricaded  suspect"          confrontations  prior to  the  incident in  question. Cf.  Febus-
                                                                ___  ______          Rodriguez,  14 F.3d at 92.  Indeed, their police academy training
          _________          and instruction time relating to warrantless entries exceeded the
                                                               ________          national average.  See Canton, 489 U.S. at 389.  Moreover, rather
                             ___ ______          than  simply ignore  the  Hegarty incident,  Havey suspended  all          officers involved  and convened a  panel to investigate  and make          recommendations.   Although  it is  entirely understandable  that          plaintiff would fault Sheriff Havey for not accepting or adopting          the recommendations made by  the advisory panel, such a  decision          is  insufficient, standing alone,  to establish deliberate indif-          ference.  See, e.g.,  Santiago v. Fenton, 891 F.2d  373, 382 (1st
                    ___  ____   ________    ______                                          34
                                          34



          Cir.  1989) (decision  not to  discipline or  fault subordinates'          conduct,  following  investigation,  is   insufficient,  standing          alone,  to  demonstrate supervisor's  "deliberate indifference");          see also Fraire, 957 F.2d at 1278-79. 
          ___ ____ ______                    Even  though  the  district  court  ruled  that Havey's          subsequent conduct did not  amount to deliberate indifference, it          expressed serious  reservations concerning  some of his  conduct,          see Bordanaro v. McLeod, 871 F.2d 1151, 1166-67 (1st Cir.), cert.
          ___ _________    ______                                     _____          denied, 493 U.S. 820 (1989) (postincident conduct may be relevant
          ______          to  "deliberate  indifference" inquiry);  Grandstaff  v.  City of
                                                    __________      _______          Borger, 767 F.2d 161, 171 (5th Cir. 1985), cert. denied, 480 U.S.
          ______                                     _____ ______          916  (1987) (same),  notably Havey's  failure to  acknowledge the          need  to prescribe  SOPs or  to institute  in-house  training for
                   _________          handling "barricaded felon" cases.   Nevertheless, the  rationale          for  our decision that the individual officers at the scene acted          within the bounds of  objective reasonableness, see supra Section
                                                          ___ _____          II.A, plainly undermines most of the district court's concerns.                     Most importantly,  plaintiff failed to  demonstrate the          required "affirmative link" between Havey's conduct and Katherine          Hegarty's death.   That is, he  has not sustained  the burden  of          establishing that any lack of "barricaded felon" training  on the          part of the  Somerset County Sheriff's Department officers at the          scene caused Katherine's death.   Cf., e.g., Manarite v.  City of
                                            ___  ____  ________     _______          Springfield, 957 F.2d 953,  958 (1st Cir.), cert. denied,  113 S.
          ___________                                 _____ ______          Ct. 113 (1992).   First, even the plaintiff's expert  declined to          characterize the Hegarty incident as a typical "barricaded felon"
                                                 _______                                          35
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          case.   And,  unlike the typical  "barricaded felon"  case, these          officers  at the outset had no conclusive evidence but that their          suspect remained at large.
                  ________ __ _____                    Moreover, even  assuming the  best efforts of  the most          prescient supervisor, it simply is not possible to anticipate the          entire array  of atypical  circumstances    upon  which sensitive
          ______          discretionary judgment calls must  be made by the officer  in the
          _____________          field     for inclusion  in a law  enforcement agency's  standard          operating procedures.   For example, even  indulging an impermis-          sible  measure of hindsight, we do not believe that SOPs, however          elaborate, would have enabled the defendant officers at the scene          to  resolve by safer or more reliable means whether Katherine was
                         _____ __ ____ ________ _____          inside the cabin  at the  time the officers  first arrived.   So,          too, in the end,  Sheriff Havey    after initiating  an immediate          investigation into  the officers'  actions    formed  the profes-          sional opinion, rightly or wrongly, that  the judgment calls made          at the scene were reasonable.                      Finally,  though  plaintiff would  characterize Sheriff          Havey's  subsequent  conduct  as  pure obstinacy,  the  cloak  of
                                                             ___  _____  __          qualified immunity nonetheless remains  in place unless "it would
          _________ ________ ___________ _______  __ _____          be  manifest  to any  reasonable  official"  in the  supervisor's          position  that the  failure  to establish  such  a policy  or  to          institute in-house  training prior  to the Hegarty  incident "was
                                       _____  __ ___ _______  ________          very likely to  violate an  individual's constitutional  rights."          Febus-Rodriguez,  14 F.3d  at 92.   As  plaintiff failed  even to
          _______________          approach the threshold for such a showing, we affirm the district                                          36
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          court ruling  allowing the  qualified immunity claim  asserted by          defendant Havey.                                         III
                                         III                                      CONCLUSION
                                      CONCLUSION
                                      __________                    We cannot  know whether  the tragic death  of Katherine          Hegarty would have been  averted but for the judgment  calls made          by  the defendant officers at the scene,  nor is that the inquiry          we make in a civil rights action for damages against the individ-          ual  officers.    We  determine only  whether  the  discretionary          decisions made by the  defendants were within the broad  range of          reasonable conduct to be  expected from competent police officers          and their supervisors in  like circumstances.  As the  actions of          the  defendant  officers and  their  supervisor  plainly met  the          latter standard,  the district court order  denying summary judg-          ment  to the defendant officers must be reversed and the judgment          in favor of defendant Havey must be affirmed.                     The judgment  for defendant  Havey is affirmed  and the
                    _______________________________________________________          case is  remanded  to the  district  court with  instructions  to
          _________________________________________________________________          vacate  the  judgment entered  for  plaintiff  and enter  summary
          _________________________________________________________________          judgment for the  defendant officers, and  for such further  pro-
          _________________________________________________________________          ceedings  as may be appropriate and consistent with this opinion.
          ________________________________________________________________          The parties shall bear their own costs on appeal.
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